Case 1:04-cv-01275-.]DT-STA Document 11 Filed 05/06/05 Page 1 of 2 Page|D 11

/~`/[EDS;/
UNITED sTATEs DIsTRIcT coURT "‘--`_D_/“_
wEsTERN DISTRICT 0F TENNESSEE USHM'._E
EASTERN DIvIsIoN F” 2-‘!,7

JUDGMENT IN A CIVIL CASE

ANTHONY CLARKE

Plaintiff,

VS. NO. l:O4-CV-l275~T/AN
PHIL BREDESEN, ET AL

Defendants.

[X] DECISION BY THE COURT. This action Came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in Compliance With the Order
entered in the above styled matter on May 3, 2005, this matter
is hereby DISMISSED. It is further CERTIFIED that any appeal
taken by plaintiff is not taken in good faith.

M{`:YWDM

JAME D. TODD
UNI D STATES DISTRICT JUDGE

ROBERT R. DI TROLIO, CLERK

BY: ,/ "

DEPUTY ERK
This document entered on the docket sheet in compliance

with nule 58 and/or 79 (a) FHCP on 135- (H 105

SATESDISTRICT OURT - WESTERN D"ISRICT OF TNNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 11 in
case 1:04-CV-01275 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Anthony Glen Clarke
P. O. BOX 24
Saltill()7 TN 38370

Honorable J ames Todd
US DISTRICT COURT

